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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                               MIAMI-DADE DIVISION


 In re:                                                Case Number 10-26031-BKC-LMI
 OSVALDO AREVALO                                       Chapter 13
 SSN XXX.XX.3138
 LITZI AREVALO
 SSN XXX.XX.5198
        Debtors.
 _______________________________/


 DEBTORS’ MOTION TO DEEM DEUTSCHE BANK NATIONAL TRUST COMPANY
  AS TRUSTEE FOR AGENT SECURITIES INC., ASSET BACKED PASS THROUGH
      CERTIFICATES, SERIES 2003-W5 C/O AMERICAN HOME MORTGAGE
              SERVICING, INC., CURED BY CHAPTER 13 PLAN
                AND FOR TURNOVER OF OVERPAID FUNDS

       1. According to the Trustee’s records, the Debtors have paid, and the Trustee has

disbursed, all monies due to Deutsche Bank National Trust Company As Trustee for Agent Securities

Inc., Asset Backed Pass Through Certificates, Series 2003-W5 C/O American Home Mortgage

Servicing, Inc., (“American Home Mortgage”) pursuant to the terms of the second modified plan, see

ECF 142.

       2. The approved second modified plan provided for the arrearage amount due to American

Home through the date of filing which was determined to be $4,014.88 pursuant to an Order

Sustaining Debtors’ Objection to Claim of Deutsche Bank National Trust Company as Trustee for

Agent Securities Inc., Asset Backed Pass Through Certificates, Series 2003-W-5 C/O American

Home Mortgage Servicing, Inc., Claim No. 1-1, see ECF 82.

       3. The approved second modified plan provided and paid a total of $234,844.44 to

American Home Mortgage for ongoing regular mortgage payments. The Debtors plan provided for

all notice of payment changes filed by American Home Mortgage and have in fact overpaid
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American Home Mortgage via the Chapter 13 plan as to regular ongoing mortgage payments. The

Debtors plan should have paid American Home Mortgage a total of $232,883.20 as to regular

ongoing payments based on the notice of payment changes received throughout the past five years,

which are as follows:

       $3,796.26 from July, 2010 through February, 2012 – Total = $75,925.20
       $3,923.95 from March, 2012 through June, 2015 – Total = $156,958.00

       4. Accordingly, the Debtors have overpaid American Home Mortgage by a total of

$1,961.24. Since the Trustee’s records reflect these payments are completed, the mortgage debt to

American Home Mortgage should not only be deemed current as of June, 2015, but American Home

Mortgage should either refund the Debtors a total of $1,961.24 or apply the funds towards the post-

petition mortgage payments that have come due as American Home Mortgage has refused to accept

the Debtors post-petition regular mortgage payments. The Debtors further respectfully request that

this Court order that American Home Mortgage is not to collect late fees or negatively report on the

Debtors credit history as related to post-petition payments due through the date an order is entered on

this matter as American Home Mortgage has refused to accept the Debtors post-petition payments.

THE MORTGAGEE SHALL FILE ANY OBJECTION TO THE STATUS OF THE
MORTGAGE DEBT AS PAID IN FULL NO LATER THAN TWO BUSINESS DAYS PRIOR
TO THE SCHEDULED HEARING.

       All parties wishing to be heard shall appear at the scheduled hearing. If there is a

dispute as to the status of the First Mortgage, the court may take evidence at the hearing or

treat the hearing as preliminary and set a further evidentiary hearing on a different date.
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                                         CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via

   ECF( if applicable) & Regular U.S. Mail, on this 19th day of August, 2015 to all parties listed

   below.


Nancy N. Neidich, Esq.            American Home Mortgage                    Maurice D. Hinton, Esq
Via ECF                           Servicing, Inc.                           Robertson, Anschutz & Schneid, PL
                                  1525 S. Beltline Road, Suite 100N         Attorney for American Home Mortgage
                                  Coppell, Texas 75019                      Servicing, Inc
                                                                            3010 N. Military Trail, Suite 300
                                                                            Boca Raton, Fl. 33431.
                                                                            Via ECF

     CERTIFICATE PURSUANT TO LOCAL
              RULE 9011-4(B)                                  SANDRA NAVARRO-GARCIA, P.A.
                                                              Counsel for the Debtor
           I HEREBY CERTIFY that I am admitted to the         7951 SW 40th Street, Suite 202
   Bar of the United States District Court for the Southern   Miami, Florida 33155
   District of Florida and I am in compliance with the        E-MAIL: SANDRA@.SNGLAW.NET
   additional qualifications to practice in this Court set    Telephone: 305-264-7500
   forth in Local Rule 2090-1(A).                             Facsimile: 305-264-7587
                                                              /s/ Sandra Navarro-Garcia
                                                              Sandra Navarro-Garcia, Esq., FBN 188735
